Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 1 of 21 Page ID
                                 #:5841



 1
     KATIE TOWNSEND (SBN 254321)
     ktownsend@rcfp.org
 2   REPORTERS COMMITTEE FOR
 3   FREEDOM OF THE PRESS
     1156 15th Street NW, Suite 1020
 4   Washington, D.C. 20005
 5   Telephone: 202.795.9300
     Facsimile: 202.795.9310
 6

 7 JEFF GLASSER (SBN 252596)
     jeff.glasser@latimes.com
 8 LOS ANGELES TIMES COMMUNICATIONS LLC

 9 2300 E. Imperial Highway
     El Segundo, CA 90245
10 Telephone: 213-237-7077

11
     Counsel for Non-Party Intervenor
12 LOS ANGELES TIMES COMMUNICATIONS LLC

13

14
                           UNITED STATES DISTRICT COURT

15
                         CENTRAL DISTRICT OF CALIFORNIA

16
                                   WESTERN DIVISION

17
      ALEX ROSAS and JONATHAN               Case No. 12-cv-00428 DDP (MRW)
18    GOODWIN, on behalf of themselves
19    and those similarly situated,         MEMORANDUM OF POINTS AND
                                            AUTHORITIES IN SUPPORT OF
20                Plaintiffs,               MOTION OF NON-PARTY LOS
21                                          ANGELES TIMES
            v.                              COMMUNICATIONS LLC TO
22                                          INTERVENE AND UNSEAL
23    ROBERT LUNA, in his official
      capacity as Sheriff of Los Angeles    Date: September 11, 2023
24    County,
25                                          Time: 10:00AM
                  Defendant.
26                                          Judge: Hon. Dean D. Pregerson
27

28
        MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
            LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 2 of 21 Page ID
                                 #:5842



 1                                            TABLE OF CONTENTS
 2
     TABLE OF AUTHORITIES ........................................................................................ ii
 3
     INTRODUCTION ......................................................................................................... 1
 4

 5 FACTUAL BACKGROUND ....................................................................................... 3

 6 ARGUMENT ................................................................................................................ 5

 7      I. The motion to intervene should be granted......................................................... 5
 8
        II. The Use-of-Force Materials should be unsealed. ............................................... 6
 9
              A. The common law presumption of access attaches to the Use-of-Force
10               Materials, which were filed with the Court in connection with a
11               motion “more than tangentially related to the merits” of the case................ 7

12            B. The common law presumption of access to the Use-of-Force
                 Materials cannot be overcome by mere reliance on the parties’
13
                 stipulated protective order. ........................................................................... 8
14
              C. Even under a good-cause standard, the parties cannot show that
15               sealing is justified in light of the powerful public interest in access. ......... 11
16
     CONCLUSION ........................................................................................................... 15
17

18

19
20

21

22

23

24

25

26
27

28                                                               i
           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
               LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 3 of 21 Page ID
                                 #:5843



 1                                          TABLE OF AUTHORITIES

 2                                                                                                                   Page(s)
 3
     Cases
 4
     Allstar Mktg. Grp., LLC v. Your Store Online, LLC,
 5
       No. CV-09-02094, 2010 WL 11523739 (C.D. Cal. July 14, 2010)....................... 7, 8
 6
     Beckman Indus., Inc. v. Int’l Ins. Co.,
 7     966 F.2d 470 (9th Cir. 1992) ..................................................................................... 5
 8
   Binh Hoa Le v. Exeter Fin. Corp.,
 9   990 F.3d 410 (5th Cir. 2021) ................................................................................... 10
10 BP Expl. & Prod., Inc. v. Claimant ID 100246928,

11      920 F.3d 209 (5th Cir. 2019) ..................................................................................... 6

12 Bradley ex rel. AJW v. Ackal,
        954 F.3d 216 (5th Cir. 2020) ................................................................................... 10
13

14 Citizens First Nat’l Bank of Princeton v. Cincinnati Ins. Co.,
        178 F.3d 943 (7th Cir. 1999) ..................................................................................... 9
15
     City of Los Angeles v. Superior Court,
16
       41 Cal. App. 4th 1083 (1996) .................................................................................. 14
17
     Ctr. for Auto Safety v. Chrysler Grp., LLC,
18     809 F.3d 1092 (9th Cir. 2016) .......................................................................... passim
19
   Doe v. Marsalis,
20  202 F.R.D. 233 (N.D. Ill. 2001) ............................................................................... 14
21 Foltz v. State Farm Mut. Auto. Ins. Co.,

22      331 F.3d 1122 (9th Cir. 2003) ............................................................................... 7, 9

23 Ford v. City of Huntsville,
        242 F.3d 235 (5th Cir. 2001) ..................................................................................... 6
24

25 Globe Newspaper Co. v. Superior Court,
        457 U.S. 596 (1982)................................................................................................... 6
26
27

28                                                               ii
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 4 of 21 Page ID
                                 #:5844



 1
     Gomes v. Fried,
      136 Cal. App. 3d 924 (1982) ................................................................................... 14
 2
     H.B. Fuller Co. v. Doe,
 3     151 Cal. App. 4th 879 (2007) .................................................................................... 9
 4
     Harper v. Nev. Prop. 1, LLC,
 5    552 F. Supp. 3d 1033 (D. Nev. 2021) .................................................................... 2, 7
 6
   In re NBC, Inc.,
 7   635 F.2d 945 (2d Cir. 1980) .................................................................................... 10
 8 In re L.A. Times Commc’ns LLC,

 9      28 F.4th 292 (D.C. Cir. 2022) .................................................................................. 10

10 In re Providian Credit Card Cases,
        96 Cal. App. 4th 292 (2002) ...................................................................................... 9
11

12 In re Roman Cath. Archbishop of Portland,
        661 F.3d 417 (9th Cir. 2011) ................................................................................... 13
13
     Kamakana v. City & Cnty. of Honolulu,
14
      447 F.3d 1172 (9th Cir. 2006) .......................................................................... passim
15
     King v. Conde,
16     121 F.R.D. 180 (E.D.N.Y. 1988) ............................................................................. 14
17
   Melendres v. Arpaio,
18  695 F.3d 990 (9th Cir. 2012) ..................................................................................... 8
19 Mendez v. City of Gardena,
20      222 F. Supp. 3d 782 (C.D. Cal. 2015) ..................................................................... 11

21 Mills v. Alabama,
        384 U.S. 214 (1966)................................................................................................. 13
22

23 Nixon v. Warner Commc’ns, Inc.,
        435 U.S. 589 (1978)............................................................................................. 1, 12
24
     Phillips ex rel. Estates of Byrd v. Gen. Motors Corp.,
25
       307 F.3d 1206 (9th Cir. 2002) ................................................................................. 12
26
27

28                                                              iii
           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
               LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 5 of 21 Page ID
                                 #:5845



 1
     Richmond Newspapers, Inc. v. Virginia,
       448 U.S. 555 (1980)................................................................................................. 15
 2
     San Jose Mercury News, Inc. v. U.S. District Court,
 3     187 F.3d 1096 (9th Cir. 1999) ..................................................................... 5, 6, 9, 12
 4
     Seelig v. Infinity Broad. Corp.,
 5     97 Cal. App. 4th 798 (2002) ...................................................................................... 3
 6
   United States v. Beckham,
 7  789 F.2d 401 (6th Cir. 1986) ................................................................................... 10
 8 United States v. Criden,

 9      648 F.2d 814 (3d Cir. 1981) .................................................................................... 10

10 Valley Broad. Co. v. U.S. District Court,
        798 F.2d 1289 (9th Cir. 1986) ................................................................................. 10
11

12 Welsh v. City & Cnty. of San Francisco,
        887 F. Supp. 1293 (N.D. Cal. 1995) ........................................................................ 14
13
     Other Authorities
14

15 Cindy Chang & Joel Rubin, After Years of Scandal, L.A. Jails Get Federal
        Oversight, Sweeping Reforms, L.A. Times (Aug. 5, 2015),
16      https://perma.cc/9XWP-MDRR ............................................................................... 15
17
   Eric Lichtblau, U.S. Justice Dept. Investigates Alleged Mistreatment of
18   Mentally Ill in County Jails, L.A. Times (June 14, 1996),
     https://perma.cc/AYY6-CL2F ................................................................................. 15
19
20 Full Coverage: L.A. County Jail System Under Scrutiny,
        L.A. Times (July 21, 2012),
21      https://perma.cc/DN37-A9VQ ................................................................................... 3
22
   Jaclyn Cosgrove, After More than Six Years of Federal Oversight, Dangerous
23   Problems Persist in L.A. County Jails, L.A. Times (Jan. 15, 2022),
     https://perma.cc/4GUU-NZ7P ............................................................................... 2, 3
24

25 Keri Blakinger, Fights, Beatings and a Birth: Videos Smuggled out of L.A. Jails
        Reveal Violence, Neglect, L.A. Times (June 24, 2023),
26      https://perma.cc/5ULL-73ZD ................................................................................ 2, 5
27

28                                                              iv
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 6 of 21 Page ID
                                 #:5846



 1
   Keri Blakinger, Senators Fault Department of Justice for ‘Appalling’
    Conditions in Los Angeles Jails, L.A. Times (Feb. 13, 2023),
 2  https://perma.cc/2A2K-84ER .................................................................................. 15
 3 Keri Blakinger, Video Shows Deputy Slamming Handcuffed Inmate Into

 4  Concrete Wall at Men’s Central Jail, L.A. Times (June 3, 2023),
       https://perma.cc/RE6X-EUMN.................................................................................. 5
 5

 6 Order Granting Media Intervenors’ Motion to Intervene and Unseal,
       Greer v. Cnty. of San Diego, No. 19-cv-378
 7     (S.D. Cal. July 10, 2023), slip op.,
 8     https://perma.cc/5DQQ-JFH2 .................................................................................. 11

 9 Robert Faturechi & Jack Leonard, U.S. Widens Inquiry into Abuse at L.A.
       County Jails, L.A. Times (Oct. 15, 2011),
10
       https://perma.cc/XT7C-Z4B4 .................................................................................. 15
11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28                                                          v
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 7 of 21 Page ID
                                 #:5847




 1                                    INTRODUCTION

 2         Non-party Los Angeles Times Communications LLC (the “Los Angeles
 3
     Times”) seeks to intervene in the above-captioned action for the limited purpose of
 4

 5 obtaining an order unsealing the use-of-force packets and videos filed with the Court

 6 as exhibits in support of Plaintiffs’ Motion to Modify Implementation Plan, as well as

 7
     the redacted portions of Plaintiffs’ Memorandum of Points and Authorities
 8

 9 (“Memorandum”) and supporting declarations that reference those exhibits (together,

10 the “Use-of-Force Materials”). Those judicial records, which document allegedly

11
     unlawful conditions and official misconduct in Los Angeles County jails, go to the
12

13 heart of “the interest of citizens in ‘keep[ing] a watchful eye on the workings of

14 public agencies,’” as well as the role of members of the press like the Los Angeles

15
     Times in “publish[ing] information concerning the operation of government.”
16

17 Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting

18 Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978) (first alteration in
19
     original)). The parties have not justified—and cannot justify—keeping those judicial
20

21 records under seal.

22         There is a “strong presumption of access” to judicial records under the
23
     common law. Id. at 1178–79 (citation omitted). That presumption extends to any
24

25 motion—and any attachments to a motion—that is “more than tangentially related to

26 the merits of a case.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092,

27
                                               1
28       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
             LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 8 of 21 Page ID
                                 #:5848



 1 1101 (9th Cir. 2016). The Use-of-Force Materials, which were filed with the Court to

 2 obtain effective relief for alleged violations of Plaintiffs’ constitutional rights, fall

 3
     squarely within the scope of the common law right of access. See Harper v. Nev.
 4

 5 Prop. 1, LLC, 552 F. Supp. 3d 1033, 1040 & n.6 (D. Nev. 2021) (collecting cases

 6 finding a strong presumption of access to motions to enforce a settlement agreement).

 7
           The only justification in the record for sealing the Use-of-Force Materials is the
 8

 9 existence of a stipulated protective order, see ECF No. 193, which Ninth Circuit law

10 makes clear is inadequate to rebut the common law presumption, see Kamakana, 447

11
     F.3d at 1180. But even under the good-cause standard applicable to the entry of a
12

13 protective order, see id., secrecy would be unjustified here. The extraordinary public

14 interest in the bleak conditions at Los Angeles County jails that are subject to federal

15
     oversight—and recurring questions about the safety of those working and detained
16

17 there—overwhelmingly favors access, to enable the public to evaluate the

18 performance of the officials responsible. See, e.g., Keri Blakinger, Fights, Beatings

19
     and a Birth: Videos Smuggled out of L.A. Jails Reveal Violence, Neglect, L.A. Times
20

21 (June 24, 2023), https://perma.cc/5ULL-73ZD; Jaclyn Cosgrove, After More than Six

22 Years of Federal Oversight, Dangerous Problems Persist in L.A. County Jails, L.A.

23
     Times (Jan. 15, 2022), https://perma.cc/4GUU-NZ7P.1 For the reasons set forth
24

25

26
     1
          Here and throughout this motion, this Court may “take judicial notice of news
   articles” in evaluating the “significant interest to the public” of the policy issues at
27 stake here. Seelig v. Infinity Broad. Corp., 97 Cal. App. 4th 798, 807 & n.5 (2002).

28                                               2
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
             LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 9 of 21 Page ID
                                 #:5849



 1 herein, the Los Angeles Times respectfully urges this Court to enter an order granting

 2 its motion to intervene and ordering that the Use-of-Force Materials be unsealed.

 3
                                 FACTUAL BACKGROUND
 4

 5         The Los Angeles Times is one of the largest daily newspapers in the United

 6 States, informing audiences throughout California and across the nation. In that role,

 7
     Times reporters regularly cover noteworthy judicial proceedings in the Central
 8

 9 District of California, and the Times has extensively covered allegations of abuse and

10 mismanagement in the Los Angeles County jail system. See Full Coverage: L.A.

11
     County Jail System Under Scrutiny, L.A. Times (July 21, 2012),
12

13 https://perma.cc/DN37-A9VQ (collecting more than 150 stories on the topic).

14         In January 2012, Plaintiffs initiated the above-captioned class action, alleging a
15
     “pattern of brutality” in L.A. County jails in violation of their Eighth and Fourteenth
16

17 Amendment rights. Complaint for Injunctive Relief at 74 (ECF No. 1). After several

18 years of litigation, the parties entered into a Court-approved settlement agreement

19
     that provided for, among other relief, a binding implementation plan to be developed
20

21 by an expert panel “to ensure that members of the Plaintiff Class are not subjected to

22 excessive force.” Order Approving Class Settlement at 3 (ECF No. 135). Under the

23
     terms of the settlement agreement, the expert panel is also required to “monitor and
24

25 advise the Court on Defendant’s compliance with the Implementation Plan.” Id.

26
27

28                                              3
         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
             LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 10 of 21 Page ID
                                 #:5850



  1         On May 31, 2023, Plaintiffs filed a motion to modify the implementation plan

  2 that was approved by the Court. See Notice of Motion and Motion to Modify Court-

  3
      Approved Implementation Plan at 1 (ECF No. 252). Citing reports filed by the expert
  4

  5 panel, Plaintiffs argued that “for years LASD has failed, among other things, to

  6 address (1) the overuse of dangerous and unnecessary head strikes; (2) the excessive

  7
      and unnecessary uses of force due to consistent non-compliance with force
  8

  9 prevention policies; (3) dishonest reporting by line personnel about uses of force; and

 10 (4) the overuse of the dangerous WRAP restraint device.” Plaintiffs’ Memorandum

 11
      of Points and Authorities at 1 (ECF No. 253). To substantiate those allegations,
 12

 13 Plaintiffs and their declarants relied on “Use of Force Reports and Videos” that

 14 document possibly excessive force. Redacted Declaration of Erin David Bigler at 2

 15
      (ECF No. 253-2).
 16

 17         Those exhibits were submitted to the Court entirely under seal, and any
 18 descriptions of their contents are redacted wherever they appear in Plaintiffs’

 19
      Memorandum and supporting declarations. As a result, the public has lacked any
 20

 21 meaningful opportunity to evaluate Plaintiffs’ argument that “the need to protect

 22 people incarcerated in the County jails from dangerous and unnecessary force[]

 23
      requires modifications [of the implementation plan] to finally bring the [Los Angeles
 24

 25 County Sheriff’s] Department into compliance.” Plaintiffs’ Memorandum of Points

 26 and Authorities at 2. That avenue for public oversight has been barred even as
 27

 28                                             4
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 11 of 21 Page ID
                                 #:5851



  1 similar evidence of force used in the jails has stoked an urgent public debate on the

  2 need for reform. See Keri Blakinger, Video Shows Deputy Slamming Handcuffed

  3
      Inmate Into Concrete Wall at Men’s Central Jail, L.A. Times (June 3, 2023),
  4

  5 https://perma.cc/RE6X-EUMN; Blakinger, Fights, Beatings and a Birth, supra.

  6           As a result, on August 7, 2023, the Los Angeles Times moved to intervene for
  7
      the limited purpose of seeking an order unsealing the Use-of-Force Materials.
  8

  9                                        ARGUMENT

 10    I.     The motion to intervene should be granted.
 11
              The Ninth Circuit has made clear that “[n]onparties seeking access to a judicial
 12

 13 record in a civil case may do so by seeking permissive intervention under Rule

 14 24(b)[.]” San Jose Mercury News, Inc. v. U.S. District Court, 187 F.3d 1096, 1100

 15
      (9th Cir. 1999); see also Beckman Indus., Inc. v. Int’l Ins. Co., 966 F.2d 470, 473 (9th
 16

 17 Cir. 1992) (intervention granted to seek modification of protective order). The

 18 question of public access provides the “common question of law or fact” that Rule

 19
      24(b)(1) requires, see San Jose Mercury News, 187 F.3d at 1100, and this motion––
 20

 21 filed just two months after the documents were filed with the Court—is plainly

 22 timely, see id. at 1101 (“[D]elays measured in years have been tolerated where an

 23
      intervenor is pressing the public’s right of access to judicial records.”). Accordingly,
 24

 25 the Los Angeles Times’ motion to intervene should be granted under Rule 24(b)(1).

 26
 27

 28                                               5
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
                LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 12 of 21 Page ID
                                 #:5852



  1           The Los Angeles Times is also entitled to intervene as of right. “[A] news

  2 agency has a legal interest in challenging a confidentiality order” that satisfies Rule

  3
      24(a)’s need for “an interest relating to the property or transaction that is the subject
  4

  5 of the underlying action.” Ford v. City of Huntsville, 242 F.3d 235, 240 (5th Cir.

  6 2001). That interest in transparency is not “adequately protected by the parties.” San

  7
      Jose Mercury News, 187 F.3d at 1101; see also BP Expl. & Prod., Inc. v. Claimant
  8

  9 ID 100246928, 920 F.3d 209, 211 (5th Cir. 2019) (“Most litigants have no incentive

 10 to protect the public’s right of access.”). And, as explained above, intervention is

 11
      timely.
 12

 13           Through either lens, because “representatives of the press and general public

 14 must be given an opportunity to be heard on the question of their exclusion” when

 15
      access to records is at stake, Globe Newspaper Co. v. Superior Court, 457 U.S. 596,
 16

 17 609 n.25 (1982) (citation and internal quotation marks omitted), the motion of the Los

 18 Angeles Times to intervene should be granted.

 19
      II.     The Use-of-Force Materials should be unsealed.
 20

 21           The parties have not justified (and cannot justify) keeping the Use-of-Force

 22 Materials secret. When those judicial records were attached to and referenced in

 23
      Plaintiffs’ motion, the strong presumption of public access attached to them—a
 24

 25 presumption that the parties cannot rebut merely by pointing to the stipulated

 26 protective order. See Harper, 552 F. Supp. 3d at 1040 & n.6. Indeed, even if the
 27

 28                                                6
            MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
                LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 13 of 21 Page ID
                                 #:5853



  1 Court were to apply a good-cause standard instead of the one required under the

  2 common law, the public’s powerful interest in understanding the allegations of

  3
      official misconduct presented by Plaintiffs would swamp any interest in secrecy here.
  4

  5         A.    The common law presumption of access attaches to the Use-of-Force
                  Materials, which were filed with the Court in connection with a
  6               motion “more than tangentially related to the merits” of the case.
  7
            In the Ninth Circuit, the common law guarantees “a strong presumption in
  8

  9
      favor of access to court records,” Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d

 10 1122, 1135 (9th Cir. 2003), a presumption that attaches to—among other judicial

 11
      records—any motion that is “dispositive” in the sense that it seeks relief “more than
 12

 13
      tangentially related to the merits of a case,” Ctr. for Auto Safety, 809 F.3d at 1101.

 14 That strong presumption in favor of public access also applies to attachments to such

 15
      motions, even if the material “w[as] previously filed under seal or [is subject to a]
 16

 17 protective order.” Kamakana, 447 F.3d at 1179. Here, Plaintiffs’ motion to modify

 18 the implementation plan to ensure effective relief is plainly “more than tangentially

 19
      related to the merits” of the underlying action. Ctr. for Auto Safety, 809 F.3d at 1101.
 20

 21         District courts in this Circuit have routinely concluded as much where a party

 22 seeks relief under the terms of a settlement agreement. See Harper, 552 F. Supp. 3d

 23
      at 1040 & n.6 (collecting cases); see also Allstar Mktg. Grp., LLC v. Your Store
 24

 25 Online, LLC, No. CV-09-02094, 2010 WL 11523739, at *1 (C.D. Cal. July 14, 2010).

 26 And for good reason. Such a motion “invoke[s] important Article III powers” by
 27

 28                                               7
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 14 of 21 Page ID
                                 #:5854



  1 asking the Court to bind the opposing party to a particular course of action. Ctr. for

  2 Auto Safety, 809 F.3d at 1100 (citation and internal quotation marks omitted). And as

  3
      Plaintiffs’ motion makes clear, their entitlement (or not) to that relief turns on its
  4

  5 relevance to redressing the same alleged violations of “constitutional rights” at issue

  6 in their underlying action. Plaintiffs’ Memorandum of Points and Authorities at 20

  7
      (ECF No. 253) (quoting Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012)). A
  8

  9 strong presumption of public access therefore attaches to the Use-of-Force Materials,

 10 which were filed with the Court so that it may adjudicate a controversy that squarely

 11
      implicates the public’s interest in monitoring public officials and institutions.
 12

 13         B.    The common law presumption of access to the Use-of-Force
                  Materials cannot be overcome by mere reliance on the parties’
 14               stipulated protective order.
 15
            It appears from the public docket that no motion to seal was filed in connection
 16

 17 with the filing of the Use-of-Force Materials; instead, the parties’ stipulated

 18 protective order contemplates that such material will be filed under seal wherever it

 19
      appears without leave of court. See Stipulated Protective Order Regarding Class
 20

 21 Counsel’s Access to Documents at 15–16 (ECF No. 193). But Ninth Circuit

 22 precedent makes clear that such a protective order cannot, without more, justify

 23
      sealing records that are subject to the strong common law presumption of access.2
 24

 25
      2
 26       See, e.g., San Jose Mercury News, 187 F.3d at 1102–03 (stipulated protective
    orders are “subject to challenge and modification”); Citizens First Nat’l Bank of
 27 Princeton v. Cincinnati Ins. Co., 178 F.3d 943, 944 (7th Cir. 1999) (rejecting

 28                                                8
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 15 of 21 Page ID
                                 #:5855



  1 And even if the parties were to attempt to meet their burden under the common law,

  2 they would fall well short given the vital public interests favoring transparency here.

  3
            “Those who seek to maintain the secrecy of documents attached”—as here—
  4

  5 “to dispositive motions must meet the high threshold of showing that ‘compelling

  6 reasons’ support secrecy.” Kamakana, 447 F.3d at 1180 (quoting Foltz, 331 F.3d at

  7
      1136). Crucially, a “‘good cause’ showing alone will not suffice to fulfill the
  8

  9 ‘compelling reasons’ standard,” even if it justified entry of a protective order

 10 governing unfiled material at some earlier point in the litigation. Id. Here, good

 11
      cause is all that the parties have even purported to show. See Stipulated Protective
 12

 13 Order, supra, at 4–5. And that showing is doubly insufficient because the protective

 14 order was obtained “without making a particularized showing of good cause with

 15
      respect to any individual document,” such that the parties “could not reasonably rely
 16

 17 on the order to hold these records under seal forever.” Foltz, 331 F.3d at 1138.

 18         Nor does any other adequate basis for sealing the Use-of-Force Materials
 19
      appear in the record before this Court. The common law standard is “stringent”: The
 20

 21 party seeking secrecy “bears the burden” of showing “compelling reasons” for

 22

 23

 24 stipulated protective order as a basis for restricting access, noting that “[t]he parties to
      a lawsuit are not the only people who have a legitimate interest in the record
 25 compiled in a legal proceeding”); H.B. Fuller Co. v. Doe, 151 Cal. App. 4th 879,

 26 891–92 (2007) (unsealing records that had been sealed pursuant to a stipulated
      protective order); In re Providian Credit Card Cases, 96 Cal. App. 4th 292, 309–10
 27 (2002) (same).

 28                                               9
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 16 of 21 Page ID
                                 #:5856



  1 nondisclosure, and the court “must then conscientiously balance the competing

  2 interests of the public and the party who seeks to keep certain judicial records secret.”

  3
      Ctr. for Auto Safety, 809 F.3d at 1096–97 (citations omitted) (internal quotation
  4

  5 marks and alterations omitted). After conducting that “document-by-document, line-

  6 by-line balancing,” Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d 410, 419 (5th Cir.

  7
      2021) (citations and internal quotation marks omitted), any order that ultimately seals
  8

  9 any portion of a record must “articulate the factual basis” for doing so “without

 10 relying on hypothesis or conjecture,” Valley Broad. Co. v. U.S. District Court, 798

 11
      F.2d 1289, 1295 (9th Cir. 1986).
 12

 13         Here, the balance of interests plainly favors transparency. It is nearly a truism

 14 that the common law right of access is “especially strong” in cases that involve—as

 15
      this one does—allegations of potential wrongdoing by public officials. In re NBC,
 16

 17 Inc., 635 F.2d 945, 952 (2d Cir. 1980); accord, e.g., United States v. Criden, 648 F.2d

 18 814, 822 (3d Cir. 1981); United States v. Beckham, 789 F.2d 401, 413 (6th Cir.

 19
      1986); Bradley ex rel. AJW v. Ackal, 954 F.3d 216, 232 (5th Cir. 2020); In re L.A.
 20

 21 Times Commc’ns LLC, 28 F.4th 292, 298 (D.C. Cir. 2022). And as another district

 22 court in this Circuit recently found, “[i]nformation about the County’s possible

 23
      mistreatment of its inmates is inherently a matter of significant public interest:
 24

 25 County residents not only support these operations with their taxpayer dollars but

 26 may be subject to such treatment if detained.” Order Granting Media Intervenors’
 27

 28                                              10
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 17 of 21 Page ID
                                 #:5857



  1 Motion to Intervene and Unseal, Greer v. Cnty. of San Diego, No. 19-cv-378 (S.D.

  2 Cal. July 10, 2023), slip op. at 10, https://perma.cc/5DQQ-JFH2. The interest in

  3
      access is only sharpened by the context in which the Use-of-Force Materials come
  4

  5 before this Court—as evidence in support of a motion that asks the Court to exercise

  6 “important Article III powers” to conform the conduct of a public agency to the law.

  7
      Ctr. for Auto Safety, 809 F.3d at 1100 (citation and internal quotation marks omitted).
  8

  9         Whatever countervailing interests the parties might attempt to assert, “[t]he

 10 mere fact that the production of records may lead to a litigant’s embarrassment,

 11
      incrimination, or exposure to further litigation will not, without more, compel the
 12

 13 court to seal its records.” Kamakana, 447 F.3d at 1179. And the fact that the Use-of-

 14 Force Materials may document official misconduct undercuts any claim to secrecy,

 15
      because Defendant “cannot assert a valid compelling interest in sealing the videos to
 16

 17 cover up any wrongdoing on their part or to shield themselves from embarrassment.”

 18 Mendez v. City of Gardena, 222 F. Supp. 3d 782, 792 (C.D. Cal. 2015) (ordering

 19
      disclosure of videos documenting fatal––and allegedly unlawful––use of force).
 20

 21         The balance of interests skews dramatically in favor of access, and the public’s
 22 common law right “to keep a watchful eye on the workings of public agencies”

 23
      requires that the Use-of-Force Materials be unsealed. Nixon, 435 U.S. at 598.
 24

 25         C.    Even under a good-cause standard, the parties cannot show that
                  sealing is justified in light of the powerful public interest in access.
 26
 27

 28                                             11
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 18 of 21 Page ID
                                 #:5858



  1         Even if a good-cause standard—rather than the compelling-reasons standard—

  2 applied to the Use-of-Force Materials, secrecy would be unjustified here in light of

  3
      the urgent public interests favoring disclosure. “For good cause to exist, the party
  4

  5 seeking protection bears the burden of showing specific prejudice or harm will result

  6 if no protective order is granted,” Phillips ex rel. Estates of Byrd v. Gen. Motors

  7
      Corp., 307 F.3d 1206, 1210–11 (9th Cir. 2002), a showing that must be
  8

  9 “particularized . . . with respect to any individual document” at issue, San Jose

 10 Mercury News, 187 F.3d at 1103. Even where that threshold showing is made, the

 11
      court must then go on to “balance[] the public and private interests” at stake.
 12

 13 Phillips, 307 F.3d at 1211.

 14         Here, the parties’ stipulated protective order gestures at potential harms, but
 15
      none are particularized with reference to any specific document or exhibit that has
 16

 17 since been filed with the Court. Moreover, the public interest in understanding

 18 allegations of official misconduct against officials responsible for conditions in

 19
      County jails would dwarf any private interest the parties might attempt to show.
 20

 21         The Ninth Circuit has “directed courts doing this balancing” to weigh:
 22         1) whether disclosure will violate any privacy interests; (2) whether the
 23         information is being sought for a legitimate purpose or for an improper
            purpose; (3) whether disclosure of the information will cause a party
 24         embarrassment; (4) whether confidentiality is being sought over
 25         information important to public health and safety; (5) whether the sharing
            of information among litigants will promote fairness and efficiency; (6)
 26         whether a party benefitting from the order of confidentiality is a public
 27

 28                                              12
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 19 of 21 Page ID
                                 #:5859



  1
            entity or official; and (7) whether the case involves issues important to the
            public.
  2

  3 In re Roman Cath. Archbishop of Portland, 661 F.3d 417, 424 & n.5 (9th Cir. 2011)

  4 (citation omitted). The parties have so far made no particularized showing as to the

  5
      interests they believe counsel in favor of secrecy, and the remaining factors favor
  6

  7 access. For one, the Los Angeles Times seeks the Use-of-Force Materials for a

  8 legitimate—and for that matter vital—purpose: to “publish information concerning

  9
      the operation of government,” Kamakana, 447 F.3d at 1178 (citation omitted),
 10

 11 thereby “keeping officials elected by the people responsible to all the people whom

 12 they were selected to serve,” Mills v. Alabama, 384 U.S. 214, 219 (1966).

 13
            There can likewise be no question that this case involves issues important to
 14

 15 the public. Law enforcement officers play a unique role––and exercise unique

 16 powers––in our society: “It is indisputable that law enforcement is a primary

 17
      function of local government and that the public has a . . . great[] interest in the
 18

 19 qualifications and conduct of law enforcement officers, even at, and perhaps
 20 especially at, an ‘on the street’ level[.]” Gomes v. Fried, 136 Cal. App. 3d 924, 933

 21
      (1982) (emphasis omitted) (citation omitted). As a result, “[t]he public has a strong
 22

 23 interest in assessing the truthfulness of allegations of official misconduct [by law

 24 enforcement personnel], and whether agencies that are responsible for investigating

 25
      and adjudicating complaints of misconduct have acted properly and wisely.” Welsh
 26
 27 v. City & Cnty. of San Francisco, 887 F. Supp. 1293, 1302 (N.D. Cal. 1995); see also

 28                                               13
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 20 of 21 Page ID
                                 #:5860



  1 City of Los Angeles v. Superior Court, 41 Cal. App. 4th 1083, 1091 (1996) (same

  2 with respect to “claims of excessive force” by the Los Angeles Police Department);

  3
      Doe v. Marsalis, 202 F.R.D. 233, 235 (N.D. Ill. 2001) (same with respect to
  4

  5 “allegations of official sexual misconduct” by Chicago police).

  6         Given that bedrock need that officials with the power to use lethal force against
  7
      members of the public be accountable to the public, the parties face an exceptional
  8

  9 burden in justifying withholding from public view information about violence that

 10 occurred while the Los Angeles Sheriff’s Department and its deputies were in charge

 11
      of the jails. See, e.g., King v. Conde, 121 F.R.D. 180, 191 (E.D.N.Y. 1988) (“[E]ven
 12

 13 disclosures having some effect on individual liberty or privacy because of their

 14 personal nature are permissible when disclosure serves important public concerns.”

 15
      (citation and internal quotation marks omitted)); Marsalis, 202 F.R.D. at 235–36.
 16

 17 Although “[p]eople in an open society do not demand infallibility from their

 18 institutions, . . . it is difficult for them to accept what they are prohibited from

 19
      observing.” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 572 (1980).
 20

 21 Those principles require openness here, where the sealed use-of-force reports and

 22 videos will shed light on decades-long controversies involving excessive force

 23

 24

 25

 26
 27

 28                                               14
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
Case 2:12-cv-00428-DDP-MRW Document 268-1 Filed 08/07/23 Page 21 of 21 Page ID
                                 #:5861


                                                                     3
  1 allegations and extreme violence in the Los Angeles County jails. Even under a

  2 good-cause analysis, this Court should order the Use-of-Force Materials unsealed.

  3
                                        CONCLUSION
  4

  5         For the reasons set forth above, the Los Angeles Times respectfully requests

  6 that the Court grant its motion to intervene and enter an order unsealing the Use-of-

  7
      Force Materials.
  8

  9 Dated: August 7, 2023.

 10                                                 s/ Katie Townsend
 11                                                 Katie Townsend
                                                    REPORTERS COMMITTEE FOR
 12                                                 FREEDOM OF THE PRESS
 13
                                                    Counsel for Non-Party Intervenor
 14                                                 LOS ANGELES TIMES
 15                                                 COMMUNICATIONS LLC

 16

 17

 18

 19
 20

 21

 22
      3
            See, e.g., Keri Blakinger, Senators Fault Department of Justice for ‘Appalling’
 23 Conditions in Los Angeles Jails, L.A. Times (Feb. 13, 2023), https://perma.cc/2A2K-

 24 84ER; Eric Lichtblau, U.S. Justice Dept. Investigates Alleged Mistreatment of
      Mentally Ill in County Jails, L.A. Times (June 14, 1996), https://perma.cc/AYY6-
 25 CL2F; Cindy Chang & Joel Rubin, After Years of Scandal, L.A. Jails Get Federal

 26 Oversight, Sweeping Reforms, L.A. Times (Aug. 5, 2015), https://perma.cc/9XWP-
      MDRR; Robert Faturechi & Jack Leonard, U.S. Widens Inquiry into Abuse at L.A.
 27 County Jails, L.A. Times (Oct. 15, 2011), https://perma.cc/XT7C-Z4B4.

 28                                            15
          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION OF NON-PARTY
              LOS ANGELES TIMES COMMUNICATIONS LLC TO INTERVENE AND UNSEAL
